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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

PHARAOHS GC, INC.

                          Plaintiff,                         20-CV-665

      v.

UNITED STATES SMALL BUSINESS
ADMINISTRATION,

ISABELLA CASILLAS GUZMAN, in her Official Capacity as
Administrator of the Small Business Administration,

UNITED STATES OF AMERICA,

JANET YELLEN, in her Official Capacity as
United States Secretary of Treasury,

                          Defendants.
______________


 DEFENDANTS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                      SUMMARY JUDGMENT

Dated: July 21, 2022


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                                         INTRODUCTION

         This memorandum of law is submitted on behalf of defendants (collectively, the

“Government”) in further support of their motion for summary judgment seeking the dismissal of

Plaintiff’s complaint.

                                            ARGUMENT

                                               POINT I

        THIS ACTION HAS BEEN RENDERED MOOT BY VIRTUE OF PLAINTIFF’S
                         OWNER’S FELONY INDICTMENT

         In response to the Government’s mootness argument, Plaintiff argues that the issue is not

properly before the Court because the Government failed to raise mootness as an affirmative

defense in its answer to the complaint. Dkt. # 43, p. 8. However, it is well-settled that mootness

goes to the subject matter jurisdiction of the Court. New York City Employees' Retirement Sys.

v. Dole Food Co., 969 F.2d 1430, 1433 (2d Cir.1992). Moreover, a defense as to the subject matter

jurisdiction of the court, including one for mootness, cannot be waived. Fox v. Bd. of Trustees of

State Univ. of New York, 42 F.3d 135, 140 (2d Cir. 1994) (“Defects in subject matter jurisdiction

cannot be waived and may be raised at any time during the proceedings.”). Accordingly, the

Government’s mootness defense is properly before the Court.1 Fox, 42 F.3d at 140.

         Plaintiff next argues that the text of the Declaratory Judgment Act somehow precludes the

Government’s mootness argument. Dkt. # 43, pp. 8-9. Specifically, Plaintiff asserts that, under

the Declaratory Judgment Act, this case must be decided based upon the “facts alleged” in

Plaintiff’s complaint and the “controversy giving rise to the [present] proceeding,” i.e., the



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      It should be noted that the facts underlying the Government’s mootness defense did not arise until
after the Government answered Plaintiff’s complaint. The Government answered Plaintiff’s complaint
on August 20, 2020 (Dkt. # 24) and Plaintiff’s owner, Peter Gerace, was not indicted until several months
later on February 25, 2021. Dkt. # 36-2.
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prurience restriction under § 120.110(p), rather than the subsequent federal indictment of

Plaintiff’s owner. Dkt. # 43, p. 9. However, it is well-settled that the Declaratory Judgment Act

incorporates “the case or controversy limitation on federal jurisdiction found in Article III of the

Constitution.” Niagara Mohawk Power Corp. v. Tonawanda Band of Seneca Indians, 94 F.3d 747,

752 (2d Cir. 1996). Accordingly, the federal courts regularly dismiss federal actions seeking

declaratory relief on the grounds of mootness even where the facts underlying the mootness

defense are distinct from the facts underlying the dispute. See e.g., Fox, 42 F.3d at 140 (“This

court has consistently held that students' declaratory and injunctive claims against the universities

that they attend are mooted by the graduation of the students, because after their graduation and

absent a claim for damages, it becomes impossible for the courts, through the exercise of their

remedial powers, to do anything to redress the injury.”) (citations and internal quotation marks

omitted). Similarly here, because Plaintiff is ineligible for a PPP loan due to its owner’s federal

indictment, the controversy concerning the prurience restriction has been rendered moot.2




    2
      Plaintiff further argues that the Government’s mootness defense is meritless because the SBA has
yet to deny Plaintiff’s application for a PPP loan on the basis of Plaintiff’s owner’s federal indictment.
Dkt. # 43, p. 8. However, as Plaintiff’s accountant acknowledges, Dkt. # 43-1, ¶ 12, Plaintiff did not
receive a PPP loan because it is barred from receiving one as a business involved in “[p]resent[ing] live
performances of a prurient sexual nature.” 13 C.F.R. § 120.110(p). Because Plaintiff was precluded from
receiving a PPP loan under § 120.110(p), there was no reason to consider a second ground of ineligibility
when Plaintiff’s owner was indicted several months later. In the unlikely event that this Court determines
that Plaintiff's claims with respect to § 120.110(p) have merit, then the second ground of Plaintiff’s
ineligibility for PPP loan may be considered and would similarly result in the denial of its application.
This case presents a perfect example of why the mootness doctrine exists and why this case should be
dismissed on that basis. Janakievski v. Exec. Dir., Rochester Psychiatric Ctr., 955 F.3d 314, 319 (2d Cir.
2020) (“If, as a result of changed circumstances, a case that presented an actual redressable injury at the
time it was filed ceases to involve such an injury, it ceases to fall within a federal court's Article III
subject matter jurisdiction and must be dismissed for mootness.”).

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                                              POINT II

      THE SBA RESTRICTION DOES NOT VIOLATE THE FIRST AMENDMENT

       In its lone substantive argument, Plaintiff argues that it has a constitutionally protected

property interest in the receipt of a PPP loan and that the existence of such an interest places this

case in line with Speiser v. Randall, 357 U.S. 513 (1958) and Perry v. Sindermann, 408 U.S. 593

(1972), where the Supreme Court held that the government may not deny a benefit to a person

because he exercises a constitutional right, rather than with Regan v. Tax'n With Representation

of Washington, 461 U.S. 540 (1983), where the Court held that the government has no obligation

to subsidize speech. Plaintiff’s argument is meritless.

       “Speiser struck down a rule requiring anyone who sought a property tax exemption to sign

a declaration stating that he did not advocate the forcible overthrow of the United States

government.” Pharaohs GC, Inc. v. United States Small Bus. Admin., No. 20-CV-665, 2020 WL

3489404, at *6 (W.D.N.Y. June 26, 2020), aff'd, 990 F.3d 217 (2d Cir. 2021) (citing Speiser, 357

U.S. at 518). “In Perry, the Court held that a state junior college professor who alleged that the

college refused to renew his contract because of his public criticism of the institution stated a viable

First Amendment claim.” Pharaohs GC, 2020 WL 3489404, at *6 (citing Perry, 408 U.S. at 593).

Regan, however, did not “fit[ ] the Speiser-Perry model.” Regan, 461 U.S. at 545. In Regan, “the

Court held that the government did not violate the First Amendment by denying lobbying firms

501(c)(3) tax-exempt status.” Pharaohs GC, 2020 WL 3489404, at *6.

       The relevant distinction between Speiser and Perry on the one hand and Regan on the other

is between conditions that merely “define the limits of [a] Government spending program” by

“specify[ing] the activities the [Government] wants [or does not want] to subsidize”—which are

permissible under Regan—and conditions that “leverage[ ] federal funding to regulate [recipients’]



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speech outside the scope of the program”—which are not permissible under Speiser and Perry.

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214-217 (2013); Rust v.

Sullivan, 500 U.S. 173, 194, 197 (1991); see also Pharaohs GC, 2020 WL 3489404, at *7 (“in

determining whether the government is improperly denying a benefit as opposed to permissibly

choosing which speech to subsidize, the question is whether the ‘benefit’ at issue is funding the

speech.”)

       To illustrate the difference, both Alliance for Open Society, 570 U.S. at 215, and Rust, 500

U.S. at 197-98, pointed to Regan. There the IRS had denied tax-exempt status to the plaintiff, a

non-profit organization, because its intended use of tax-deductible contributions to support its

lobbying activities was prohibited by section 501(c)(3) of the Internal Revenue Code. Regan, 461

U.S. at 542. The plaintiff challenged this prohibition as an unconstitutional condition imposed on

its receipt of tax-deductible contributions from donors. Id. at 545. The Court had no difficulty

rejecting this claim. See id. at 545-46. Treating the tax-deductibility of contributions as “similar

to cash grants” to the organization, the Court concluded that the plaintiff could continue to receive

tax-deductible contributions for its non-lobbying activities by forming an affiliated tax-exempt

entity, under section 501(c)(4) of the Code, that would be permitted to conduct lobbying activities

using sources of funds other than tax-deductible (that is, federally subsidized) contributions. Id.

at 544-46. Thus, the plaintiff was not prohibited from using non-subsidized contributions to

engage in lobbying, nor denied other government benefits because of its intent to lobby; “Congress

ha[d] merely refused to pay for the lobbying out of public monies.” Id. at 545.

       In reaching this conclusion, Regan distinguished the precedent on which Plaintiff relies,

Speiser and Perry. Regan explained that a “mere[ ] refus[al]” to pay for the expression of a private

party “out of public monies” does not “fit[ ] the Speiser-Perry] model.” 461 U.S. at 545. The



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government does “not infringe[ ] any First Amendment rights” within the meaning of Speiser or

Perry when it “simply [chooses] not to pay for” a private party’s speech. Id. at 546.

       That is the situation here. Section 120.110(p) does not prohibit businesses of a prurient

sexual nature from expressing themselves using their own funds, or deny them benefits

“independent of [SBA loans] on account of [their] intention” to engage in expressive activities.

SBA “merely refuse[s] to pay for [these activities] out of [SBA] monies.” Regan, 461 U.S. at 545.

That decision is perfectly constitutional. See Pharaohs GC, Inc. v. United States Small Bus.

Admin., 990 F.3d 217, 229 (2d Cir. 2021) (“The prurience restriction at issue here excludes certain

types of businesses from eligibility for PPP loans—it does not directly regulate speech. The

prurience restriction is thus part of a selective subsidy program.”).

       That conclusion is reinforced by United States v. Am. Library Ass’n, 539 U.S. 194 (2003)

(plurality). The plaintiffs there challenged a federal law that required public libraries receiving

federal financial assistance for the purpose of providing Internet access to install filtering software

designed to block access to online pornography. 539 U.S. at 198-99. The plurality rejected the

contention that Congress had imposed an unconstitutional condition on the libraries’ receipt of this

federal assistance. Id. at 210-12. Congress had not “penalize[d]” libraries that chose not to install

filters by denying them other, unrelated federal benefits, and the libraries remained free to offer

unfiltered Internet access to their patrons using their own funds, without the benefit of federal aid.

Id. at 212. Congress had simply decided not to subsidize unfiltered Internet access.

       Likewise, under section 120.110(p), no small business is denied benefits outside the

parameters of SBA lending simply because it engages in prurient sexual activities. Businesses that

wish to conduct these activities are free to do so using their own funds rather than Government-

subsidized loans. What they cannot do is have it both ways, as Plaintiff insists. They are not



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entitled to federal subsidies and to use those subsidies to finance activities, even expressive

activities, that the Government does not wish to fund, any more than public libraries were entitled

both to receive federal subsidies and to use those subsidies for unfiltered Internet access that the

Government did not wish to pay for.

       Plaintiff argues, relying upon the Second Circuit’s decision in Kapps v. Wing, 404 F.3d

105 (2d Cir. 2005), that it has a constitutionally protected property interest in the receipt of a PPP

loan and that such interest, which was not previously considered by this Court or the Second

Circuit in their earlier decisions, transforms the PPP “subsidy” into a “benefit which the Plaintiff

has been improperly denied from receiving on a basis that infringes the Plaintiff's constitutionally

protected interests.” Dkt. # 43, p. 2. In Kapps, the Second Circuit held that applicants for a home

heating entitlement, known as HEAP, have a constitutionally protected property interest and “must

be afforded procedural protections under the Due Process Clause to demonstrate his or her

eligibility.” 404 F.3d at 117. Relying upon Kapps, Plaintiff argues that PPP loans are an

entitlement or grant like the HEAP benefits in Kapps because of the generous loan forgiveness

provisions of the CARES Act, and that their constitutionally protected property interest in PPP

loan funds distinguishes this case from Regan. Dkt. # 43, pp. 2-4. Plaintiff’s argument is meritless

for several reasons.

       First, Plaintiff does not cite to any caselaw which suggests that the existence of a

constitutionally protected property interest plays any role in the analysis of whether a First

Amendment claim fits within Speiser-Perry or Regan. Certainly nothing in Alliance for Open

Society, the Supreme Court’s most recent explication of the distinction, suggests that it turns on

whether a government benefit rises to the level of a property interest. See 570 U.S. at 213-17. The

notion of a constitutionally protected property interest is, of course, a due process concept. Bryant



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v. N.Y. State Educ. Dep't, 692 F.3d 202, 218 (2d Cir.2012) (“A procedural due process claim is

composed of two elements: (1) the existence of a property or liberty interest that was deprived and

(2) deprivation of that interest without due process.”). Notably, Plaintiff has not alleged a

procedural due process claim nor has it asserted exactly what process it was due or how the

Government failed to provide such process.

       Second, assuming that a PPP loan is considered a “grant” as Plaintiff contends, that does

not remove this case from the reach of Regan as the Court therein considered the tax-deductibility

of contributions as “similar to cash grants” to the organization. Id. at 545-546. Likewise, in

American Library Association, Congress had created an entitlement for public libraries to receive

discounted Internet access, 539 U.S. at 199, yet it was held that the filtering requirement did not

place an unconstitutional condition on libraries’ receipt of those discounts, id. at 210-12.

       Third, Plaintiff’s claim that it has a property interest in PPP loan funds is foreclosed by the

Second Circuit’s decision in Springfield Hosp., Inc. v. Guzman, 28 F.4th 403 (2d Cir. 2022).

Although Springfield Hospital was decided in the context of whether PPP loan qualifies as a

“grant” under § 525(a) of Bankruptcy Code, the Court’s careful analysis of the CARES Act shows

that PPP loans are not an entitlement program like the home heating benefits program in Kapps.

As the Second Circuit reasoned in Springfield Hospital, the plain language of the CARES Act

shows that the PPP is a loan program and not a grant or entitlement program. Id. at 423 (“the

CARES Act uses the word ‘loan’ approximately 75 times when describing the PPP”). Also, while

the CARES Act’s loan forgivability provisions are undoubtedly generous, they are “neither

automatic nor guaranteed.” Id. at 424. Thus, the PPP loan program does not bear the hallmarks

of an entitlement program like the home heating benefit program in Kapps. Moreover, the CARES

Act’s maintenance of the “sound value” requirement and the exclusion of bankrupt debtors from



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receiving PPP loans shows the existence of at least minimal underwriting criteria – i.e. discretion

– to consider in granting PPP loans. Id. at 424-425. The existence of this discretion defeats

Plaintiff’s claim that it has constitutionally protected property interest as an applicant for a PPP

loan. Kapps, 404 F.3d at 115 (2d Cir. 2005) (“whether a benefit invests the applicant with a claim

of entitlement or merely a unilateral expectation is determined by the amount of discretion the

disbursing agency retains.”) (citations and internal quotation marks omitted).

        Furthermore, Plaintiff fails to recognize the limitation of the ruling in Kapps. Kapps did

not hold that applicants for HEAP benefits have a property interest in the receipt of the benefits

but merely a “limited property interest entitling him, at least, to process sufficient to permit a

demonstration of eligibility.” Kapps, 404 F.3d 116. Therefore, even in the unlikely event that the

PPP is considered a grant under Kapps, Plaintiff would not have a property interest in the receipt

of the PPP funds but merely a “limited property interest” to determine its eligibility for a PPP loan.

This brings up the central fatal flaw in Plaintiff’s argument: it is not clear how Plaintiff could have

a constitutionally protected property interest in the receipt of PPP loan funds when it is plainly --

by its own admission -- ineligible for such a loan under § 120.110(p). Indeed, unlike Kapps where

the plaintiffs alleged violations of due process which denied them HEAP benefits to which they

were entitled, the very basis of Plaintiff’s suit is not to prove that it is eligible for a PPP loan but

rather to remove an obstacle to eligibility by challenging the constitutionality of § 120.110(p). Dkt.

# 1, ¶ 1 (Plaintiff’s suit challenges “exclusionary eligibility criteria” for a PPP loan); ¶ 43

(“Plaintiff is fully qualified [to receive a PPP loan] – but for [the SBA’s regulations].”). Given

that Plaintiff is clearly ineligible for a PPP loan, it lacks a “legitimate claim of entitlement” to such

a loan and, thus, Plaintiff does not have a constitutionally protected property interest in the receipt

of PPP funds. Board of Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972).



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         Fourth, Plaintiff does not cite a single precedent from the Supreme Court or this Circuit in

which the Government was required to fund or subsidize speech on particular topics that the

Government did not wish to promote. Yet that is exactly what Plaintiff asks of the Court here.

Plaintiff phrases its claim as one where a PPP loan is a “benefit which the Plaintiff has been

improperly denied from receiving on a basis that infringes the Plaintiff's constitutionally protected

interests.” Dkt. # 43, p. 2. In other words, Plaintiff is asking this Court to compel the SBA to

guarantee a heavily subsidized PPP loan so that Plaintiff may spend the proceeds on activities that

the Government has refused to subsidize for at least a quarter century. No argument advanced by

Plaintiff supports that result. Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 358 (2009) (the First

Amendment does not require the government to “assist others in funding the expression of

particular ideas.”); Davenport v. Washington Educ. Ass’n, 551 U.S. 177, 190 (2007) (“[T]he First

Amendment does not require the government to enhance a person’s ability to speak.”).

         Because “a legislature’s decision not to subsidize the exercise” of First Amendment speech

“does not infringe the right,” Regan, 461 U.S. at 549-50, the “government can make content-based

distinctions when it subsidizes speech,” Davenport, 551 U.S. at 188-89, and its decision “is not

subject to strict scrutiny,” but rather rational-basis review, Regan, 461 U.S. at 549-50; Ysursa, 555

U.S. at 359. Under rational-basis review, the exclusion of adult-oriented business from PPP loans

was rational in light of the negative “secondary effects” of sex-related businesses and the SBA’s

interest in prioritizing its finite resources.3 Pharaohs GC, 990 F.3d at 230; Pharaohs GC, 2020

WL 3489404, at *8.




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     As Plaintiff’s sole substantive argument in opposition to the Government's summary judgment
motion is based on the First Amendment, all of Plaintiff’s remaining claims should be dismissed for the
reasons stated in the Government’s principal memorandum.

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                                CONCLUSION

 For the reasons above, the Government’s motion for summary judgment should be granted.

 DATED: Buffalo, New York, July 21, 2022

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